 USDC IN/ND case 1:14-cv-00312-JD-SLC document 27 filed 06/01/15 page 1 of 7


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  FT. WAYNE DIVISION

                                                   :
Robert Kim,                                        :
                                                   :
              Plaintiff,                           : Civil Action No.: 1:14-cv-00312-JD-SLC
       v.                                          :
                                                   :
Cellco Partnership, d/b/a Verizon Wireless,        :
                                                   :
                                                   :
                Defendant/Third-Party Plaintiff,   :
                                                   :
       v.                                          :
                                                   :
Tosha Tarter,                                      :
                                                   :
                Third-Party Defendant.             :
                                                   :

              THIRD-PARTY DEFENDANT’S MEMORANDUM OF LAW IN
            SUPPORT OF MOTION TO DISMISS THIRD-PARTY COMPLAINT

       Third-Party Defendant, Tosha Tarter (“Tarter”), by counsel, hereby provides this

Memorandum in support of her motion to dismiss Defendant, Cellco Partnership d/b/a Verizon

Wireless’ (“Verizon”), third-party complaint pursuant to Fed. R. Civ. P. 12(b)(6).

       Plaintiff, Robert Kim (“Kim”), initiated this action alleging that Verizon violated the

Telephone Consumer Protection Act (“TCPA”) which prohibits the making of automated or

prerecorded telephone calls to the called party without the called party’s prior express consent.

47 U.S.C. § 227(b)(1)(A). In response, Verizon has filed a third-party complaint against Tarter,

the Plaintiff’s fiancé. The third-party complaint is frivolous, fails to state a claim and should be

dismissed.

       Verizon’s third-party complaint, alleging indemnity and breach of contract, is based

entirely on its service contract and Customer Agreement with Tarter, copies of which are


                                                   1
 USDC IN/ND case 1:14-cv-00312-JD-SLC document 27 filed 06/01/15 page 2 of 7


purported to be attached as Exhibit A to the third-party complaint and referred to collectively as

the “Agreement.”. See Dkt. #12-1. However, the Agreement is devoid of the called party’s prior

express consent and of any agreement, warranty and/or representation by Tarter that the phone

number at issue is owned by her or that she is providing consent on behalf of the called party (the

Plaintiff herein). Id. Thus, there is nothing to establish any basis for indemnification or breach

by Tarter. Instead, the third-party complaint utterly fails the Rule 12(b)(6) standard. Tarter

respectfully requests that the action against her be dismissed.

                                         BACKGROUND

       Kim initiated this action on October 7, 2014. See Complaint, Dkt. #1. He alleged that

within the last year, Verizon started calling his cellular telephone attempting to collect a

consumer debt from someone other than him. Id. ¶¶ 5-6. When Kim answered the calls, he

heard a prerecorded message indicating that Verizon was attempting to reach Tarter. Id. ¶ 6.

Kim never provided his cellular phone number to Verizon, nor did he ever consent to be

contacted on his cellular phone. Id. ¶ 7.

       In its third-party complaint, Verizon alleges in connection with the Agreement that Tarter

represented to Verizon her phone number to be (909) 638-7582, and that such number was her

home number. See Dkt. #12, p. 3, ¶ 9. However, nowhere in the Agreement does Tarter

specifically represent that such phone number belongs to, is owned by or is registered to her. See

Dkt. #12-1. Verizon further alleges that pursuant to the Agreement, Tarter consented to allow

Verizon and anyone who collects on its behalf to contact her about her account status, including

past due or current charges, using prerecorded calls or an automatic telephone dialing system

using any phone number she provides. Id. ¶ 10. In reality, the Agreement actually states:

       You consent to allow Verizon Wireless and anyone who collects on our behalf to
       contact you about your account status, including past due or current charges,


                                                  2
 USDC IN/ND case 1:14-cv-00312-JD-SLC document 27 filed 06/01/15 page 3 of 7


        using prerecorded calls, email and calls or messages delivered by an automatic
        telephone dialing system to any wireless phone number or email address you
        provide. Verizon Wireless will treat any email address you provide as your
        private email that is not accessible by unauthorized third parties. Unless you
        notify us that your wireless service is based in a different time zone, calls will be
        made to your cellular device during permitted calling hours based upon the
        time zone affiliated with the mobile telephone number you provide.

Dkt. #12-1, p. 6 of 14 (emphasis added). Once again, there is no indication in the Agreement

that Tarter provided a wireless or cellular phone number which she represented as belonging to

her and on which Verizon could use to contact her.

                                            ARGUMENT

  I.    Legal Standard

        A motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) challenges the legal sufficiency

of the complaint. Hendrix v. City of Michigan City, Ind., 2014 WL 465639, *1 (N.D. Ind., Feb.

5, 2014). In order to survive a motion to dismiss, a “complaint must contain allegations that

‘state a claim to relief that is plausible on its face.’ ” Id. (quoting Ashcroft v. Iqbal, 556 U.S.

662, 129 S. Ct. 1937, 173 L .Ed. 2d 868 (2009)). All well-pleaded factual allegations are

accepted as true and viewed in the light most favorable to the plaintiff. Luevano v. Wal–Mart

Stores, Inc., 722 F.3d 1014, 1027 (7th Cir. 2013). A plaintiff “must plead some facts that

suggest a right to relief that is beyond the ‘speculative level.’ ” Atkins v. City of Chicago, 631

F.3d 823, 832 (7th Cir. 2011). This means that “the complaint must contain ‘allegations

plausibly suggesting (not merely consistent with)’ an entitlement to relief.” Alam v. Miller

Brewing Company, 709 F.3d 662, 666 (7th Cir. 2013) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 557, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)).

        Here, the very Agreement upon which Verizon relies to plead its third-party complaint

highlights the insufficiency of its claim and confirm that its allegations do not plausibly suggest


                                                   3
 USDC IN/ND case 1:14-cv-00312-JD-SLC document 27 filed 06/01/15 page 4 of 7


any right to relief. Accordingly, the third-party complaint should be dismissed.

 II.   The Third-Party Complaint Fails to Set Forth a Claim against Tarter

       The inadequacy of Verizon’s third-party complaint is heightened by its own Agreement

which provides no basis for its claim against Tarter. Further, the third-party complaint does not

allege that Tarter knew anything at all about the TCPA or Verizon’s potential liability such that

she could foresee any future action against Verizon. Most importantly, it does not allege that

Tarter warranted that the called party, her fiancé, was providing his express consent to calls to

the number Tarter provided. Stripped of the “mere conclusory statements” or “legal

conclusions” which this Court must ignore (Brooks v. Ross, 578 F.3d 574, 581 (7th Cir. 2009)),

the third-party complaint fails to provide notice of the factual basis for Verizon’s claim.

       Of note here is that the potential claimant is not a pro se litigant, it is Verizon, a company

with a market capitalization of over $200 billion dollars and vast resources and expertise at its

disposal. See http://www.bloomberg.com/quote/VZ:US. Yet Verizon cannot deign to articulate a

cause of action or support such a claim with facts consistent with its Agreement. Here, the entire

exercise is a transparent attempt to pressure the actual Plaintiff, Robert Kim, by forcing his

fiancé to defend a frivolous third-party suit.

       The Seventh Circuit has held that the TCPA requires consent from the person who was

actually called, not the person the caller asserts it was attempting to call. Soppet v. Enhanced

Recovery, 679 F.3d 637, 643 (7th Cir. 2012). In considering the phrase “called party,” the court

noted that while the “called party” who must give consent is not defined, Section

227(b)(1)(A)(iii) states that a caller is liable for a TCPA violation when a call goes to a “cellular

telephone service ... for which the called party is charged for the call.” Id. From this, the court

concluded that the “called party” in this context is the person who is “charged for the call,” i.e.



                                                  4
    USDC IN/ND case 1:14-cv-00312-JD-SLC document 27 filed 06/01/15 page 5 of 7


the party who is financially responsible for the account connected with the cellular telephone

number that is called. Id. at 640. In support of this conclusion, the court noted that for the seven

uses of the phrase “called party” in Section 227, “[f]our unmistakably denote the current

subscriber (the person who pays the bills or needs the line in order to receive other calls); one

denotes whoever answers the call (usually the subscriber); and the others (the two that deal with

consent) have a referent that cannot be pinned down by context.” Id. None of the uses refer to

the “intended recipient of the call.” Id. “The phrase ‘intended recipient’ does not appear

anywhere in § 227, so what justification could there be for equating ‘called party’ with ‘intended

recipient of the call’?”. Id.

        Instructive here is the Federal Communications Commission’s (“FCC”) recent finding

that prior express consent under the TCPA may be obtained and conveyed through an

intermediary where the calling party expressly requires that the intermediary represent that he or

she has obtained the consent of the called party. In the Matter of Groupme, Inc./Skype

Communications S.A.R.L. Petition for Expedited Declaratory Ruling Rules & Regulations

Implementing the Tel. Consumer Prot. Act of 1991, 29 F.C.C. Rcd. 3442, ¶¶ 8-9 (2014)

(hereinafter, “GroupMe Declaratory Ruling”, a true and accurate copy of which is attached

hereto as Exhibit 1 for the Court’s convenience).1 Specifically, the FCC found that GroupMe,

Inc. (“GroupMe”) could obtain prior express consent from a called party to be autodialed—by a

group texting application—via an intermediary through GroupMe’s Terms of Service Agreement

1
  In general, a district court gives great weight, if not controlling weight, to final decisions of the FCC
implementing and interpreting the TCPA. CE Design, Ltd. v. Prism Business Media, Inc., 606 F.3d 443,
450 (7th Cir.2010) (stating that “[i]n passing the Hobbs Act, Congress vested the power of agency review
of final FCC orders exclusively in the courts of appeals” and that “[t]he Hobbs Act’s jurisdictional bar
thus does not leave private parties without a mechanism for judicial review of agency action; it merely
requires litigants to seek review through its specific procedural path”); Jamison, 290 F.R.D. at 97 (stating
in a TCPA case that the court is “bound by the FCC’s orders, which are final and controlling”).



                                                     5
 USDC IN/ND case 1:14-cv-00312-JD-SLC document 27 filed 06/01/15 page 6 of 7


which required the intermediary “to represent that each individual added to the group has

consented to be added and to receive text messages.” Id. ¶¶ 3, 14 (noting that GroupMe “gain[s]

prior express consent based upon its Terms of Service agreement.”). The GroupMe terms of

service specifically set forth that “you represent and warrant that each person you add to a group

has consented to receive text messages from GroupMe. See GroupMe Terms of Service at

https://groupme.com/terms. In other words, GroupMe asked the intermediary to warrant and

represent that they were providing consent on the called party’s behalf. Id. Thus, by requiring an

intermediary to affirm that he or she has obtained a third party’s consent, “the TCPA’s goals of

preventing unwanted calls of all types to wireless consumers and avoiding costs associated with

those calls, as well as of protecting consumer privacy are not negatively impacted.” GroupMe

Declaratory Ruling ¶ 9.

       Here, Verizon did no such thing and the Agreement upon which it relies substantiates its

failure. It did not ask Tarter to obtain or give consent on behalf of Kim. Unlike GroupMe,

Verizon had no mechanism and made no inquiry into whether the owner of the phone number

referenced in its Agreement consented to autodialed or prerecorded calls from Verizon.

Accordingly, Verizon has no basis for its claims of indemnity and breach against Tarter and its

third-party complaint should be dismissed pursuant to Rule 12(b)(6).

                                         CONCLUSION

       Based on the foregoing, third-party defendant, Tasha Tarter, by counsel, respectfully

requests that the Court dismiss Verizon’s third-party complaint, with prejudice. Tarter further

requests that the Court award her all appropriate attorney’s fees and costs.

Dated: June 1, 2015




                                                 6
 USDC IN/ND case 1:14-cv-00312-JD-SLC document 27 filed 06/01/15 page 7 of 7


                                                Respectfully submitted,

                                              By /s/ Amy L. Cueller
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                                CERTIFICATE OF SERVICE
     I hereby certify that on June 1, 2015, a true and correct copy of the foregoing was filed with

the Clerk of the Court which sent notice of such filing to the following.

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                                                     By: /s/ Amy L. Cueller
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                                                 7
